|

3

5B
S|
S|

Nn
oe

mS
BAS
S}Sis'

ny

18-cv-09936-LGS-SLC Document 696-77 Filed 03/01/24 Page 1 of 24

yy
&

nm
a

N

iS

Case 1

I 8

A
7600794351 STRADELLA, STEPHANE
1822561 GUISINGER, NIGEL T
1798258 LEHFELDT, ERICA A
1821100 CAMPO, DAVID L
1824254 DE JESUS, ANGELA
1780290 INTERTEK, INC
8870121177 MHLANGA, NOMSA
1824234 ELDER, NICOLE J
8103504915 KECELI, MUZEYYEN
1820228 CROUSE JR, JERRY
1821769 LAL, MICHAEL
7670650305 FADLALLAH, SOHEIL Z
1621824 MAYETELA, KETSIAM
1822823 GRAZIANI, FABRIZIO
1945068 CAMERO, ANDRES
7670565020 VINOT, JOEL

US
FR

7370098109 CANALS MATAMOROS, JUAN CANALS MATES

1820868 WILLIAMS-BARKER, CONNIE

1820898 RUFFINO, GERALD

1820913 REBERT, COLLEEN M

1622184 ARTZ, ROGER H

1822471 JAVIDAN, SUSAN J
7170109908 CARNEIRO, AMERICO SILVA

1822473 DRAINVILLE TALBOT, JEAN-SIMON

1622869 DUBE, MICHELE M

1622874 PALMERINI, GINA

1821331 PASTORE, ROBIN C
7670564165 SALANDINI, JACQUES

1772188 HAMILTON, ROGER K
7250164474 MARTIN BROWN FAMILY TRUST
7770014481 OKPOLOKPO, HENRY
7670508605 LE HUI, WANDIS

1772544 PEARLSTEIN, RICHARD A
8870084509 ADEN, MOHAMMED OSMAN

1773313 ESCOBAR, ESTELLA F

1774578 TURNER, CHRIS AND HANNAH

1942342 CHRISTMAS, BATINA N
7300149698 NEW PHONE GENERATION SL
7170092546 SANTO, ANDRE SALGUEIRO ESPIRITO
7600790967 COULMIER, JULIEN
7370157959 DIOP, MOUHAMADOU MANSOUR

1773332 SILVA SR, FABIO F

1773337 FARZAD, BASHIR

1943274 DEV, TUSHAR

1766808 BELLAVANCE, SERGE

1767594 WINFIELD, LINDA C
7670508405 MORRA, PATRICE
7670508465 FERRIER, MARC A

1766899 ROOT, LAURA L
8870085045 JUKES, STEPHEN W

1773968 CARTER, CLARENCE P

1773280 FERNANDEZ, SHERI

1774858 BELL, NORVAS
7370158494 VEGA ARTILES, MARTINA MILAGROSA

1766559 LECHER, LISAM
7250152606 AWADALLA, ASHRAF

1768688 SABOURIN, WILFRED C
8870079740 WARSAME, ABDUL M

1769190 SCHNEIDER, PAUL S

1770038 HARMON, EVA O

1766623 DOSCHADES, ROBERT E

1766623 HOWARD, JOHN W

1772048 WASHINGTON, SHAKEIA J
8470038123 ZAKRISSON, BO

1773289 COFFEY, ALYSSA G
7670513365 COURONNE, JACQUES

1767881 TOMAS, JOCELYN D

1943522 PHAPHONXAY, LILY

1769216 BARKOVICH, DAVID J

1769217 HAMMETT, JAMES T

1942753 SHERIDAN, LORNE G
8170054664 LYNGSIE ANDERSEN, MARTIN
7370101902 PEREZ DE LA CRUZ, CAROLINA

1770108 MARSAN, RON P

1777856 OBIRI, JOSEPHINE M

1778491 LIU, CATHERINE

1779536 STINNETT, KENNETH W

1780475 URIAS, REBECA

1780720 ABOU EZZEDDINE, RAMZI

1781030 BEAUGRAND, KIM

1778227 NOAD, PAULA

1778515 SIERRA, HUGO
7670643259 LESTAGE, SEBASTIEN

1779851 WALGAMOTT, RUSSELL L

1772617 CAPONE JR, ROBERT L

1777597 RANKIN, BARBARA

1779823 ROBERTS, WARREN H

1778516 MAZAS, ABELL

1780235 HERMAMDEZ, CHRISTOPHER

1777859 STARFISH SOLUTIONS INC.

1779220 TSOLAKYAN, HAYK

1780265 KLAGES, NICOLE M

1945580 JASON & MARCY GOLDSHLAGER

1780272 SANTOS, JAMES J

CA

Ss

CoC D DO OOOO OOO OOOO OOO OOOO OOOO O OOO OCC OOD OOD OOOO ODO OOOO O Oo OO OOOO e OOOO OO OOOO OOoO OOOO SFG OO BOO oO OOOO OOOO} |
ecoesccceoooeoOoOOwoOOCoOOO00

3
S200D27FOODDODODOACCOOOOOoO OS OOOO oOoCOODOOODOOOOoCOOoOoSD

a S
eo0epnDeceoOeOHCCCCODDS
a
a
Ny
o

>

@

o
cone ecoe ooo ooo oCO

eorenDnePeeeCACe OCC OOo DOC OOODOOOoOOO

ececnepeceFD Oo DOO OBDOOCOoo
evneccDeoo Foe eC OOOO OC oOOOO

a
coon eC OKC COCO OOO OOOO ODO OOOO oOo OOOO OOCOoO OOO OBB OOo OoOOooo
mn
io
o

a
N
o
a
iy
o

eoecce00000

N
o
a
a

ny

©

&
SCoDDDDOOCOODOOOCOO OOO ODOR ODO OOODDOOOwODOoODOOSCOOoOO

eooDnDODD AOD Oo Oooo OCOoOD

oD
©_®o®
=o

CODD D OOOO OCD OD OOO eo OOOO OOOO ODO COO ODO ODO OOOO ODO eC O OCD ODD OOOO OOOO OoOOOOOOO OOo ODO OD OOO OCOD OOO oO OOO OOOO O OO} |
°

Scooce Deo COC CoD OOC CC OOOO COO OO OOD OOOO OOOO OOD ODO Oo OOO OOOO O OOO DOOD OOO ODO ODO OO OOOO SCO S eC OOO Boo OOOO COB COO OO |
CoD KD DD OCC COCO COC OOOO DOO OOO C OOOO OO ODOC OO OOOO OOO oO BO OOOO O OOD OO OOO Seo DO DOOD DOO OB OOOO OOOO ODOC OCC OC O Ol |
eoc DCO CODCOD DODO OOO DODO OOD COCO ODD DOCCODDOCCOD OOOO OOOOOO OOo OD OoO OOOO OOO BOO OOOO DODO ODO ODO OOOO OOOO OOO OOOO OO} |
eceoaoKo OOD COO OC ODO OOOO ODDO OOOO OOOO OOO ODO OOO OOOO OOO OOOO OOODO OOO OOOO OOD eC OOO OOOO BC OOO COO SB OOo OOO AoS OOO |
CoD D COO DOC OC OOD OCOD OOOO OOO OO C OOOO OOOO OOOO OC OOOO oD ODO ODO OOO OOD DOOD O OOOO ODO DOO OO OOOO OOO oO BOC OOOoOO CO} |

eoomo00000OBDDC0D

18-cv-09936-LGS-SLC Document 696-77 Filed 03/01/24 Page 2 of 24

Case 1

32243)
32244]
32245]
32246]
32247]

A B I I I | H I | I I M I N | o
1832187 AGEE, WESLEY R US 0 0 0 0 0 0 0 0 0 0 0 0
1832416 ROYALEITY GLOBAL TELECOMMUNICATIC US 0 0 0 0 0 0 16.78 16.78 0 0 0 0
7670654543 GATINEAU, STEEVE FR 0 0 QO 0 0 0 0 0 0 0 0 0
1951112 KENNEDY, KELVIN J US 0 0 0 0 0 0 0 0 0 0 0 0
1832836 RITCHIE, STEPHEN G US 0 0 0 0 0 0 0 0 0 0 0 0
1842661 BARTLET, JEFFERY US 0 0 0 0 0 0 0 0 0 0 0 0
1845955 CHENOWETH, ALISHA US Oo 0 oO 0 0 0 0 0 0 0 oO 0)
7670649227 DELARUE, MIKAEL FR 0 0 Q 0 0 0 0 0 0 0 0 0
1843617 PEREZ, JOSE US 0 0 0 0 0 0 0 0 0 0 0 0
7250214133 NARAYAN, SAT AU 0 0 0 0 0 0 0 0 0 0 0 0
1843827 CAMMACK, RANDALL C us 0 0 Qo 0 0 0 0 0 0 0 0 0
1950913 CRAMPTON, PAUL F US 0 0 0 oO oO 400 0 400 0 100 0 100)
7600797861 YVON, CAROLINE FR 0 O O o Oo 0 0 Oo O O 0 0
1845438 LAROCCO, SHANNON L us 0 0 oO 0 0 0 0 0 0 0 Q 0
1842431 JAMES, FRANK R US 0 0 0 0 0 0 0 0 0 0 0 0
7670582069 GUYOT, JEREMY F FR 0 0 0 0 0 0 0 0 0 0 0 0
1842436 CARAANG, ANNE FRANCES V US 0 0 0 0 0 0 0 0 0 0 0 0
1843883 MCCARTHY, SHAREN L US 0 0 0 0 0 0 0 0 0 0 0 0
8770034075 HELL, INGER JOHANNE NO 0 0 0 0 0 0 0 0 0 0 0 0
7370119564 PERAL HERNANDEZ, AGUSTIN ES 0 0 0 9 0 QO 0 0 0 0 20.34 20.34
1842683 EVANS, JASON W US 0 0 0 9 0 0 20.48 20.48 0 0 0 0
1843841 HARNESS, SARAH E US 0 0 0 Q Q 0 0 0 0 0 0 0
7670580979 SANCHEZ, LEATITIA FR 0 0 0 0 0 0 0 0 0 0 0 0
1845481 GUERRA, DELMAM US Qo 0 0 0 Qo 0 0 0 0 0 0 0
7600793919 HIPKEN, CHRISTEL FR 0 0 0 0 0 0 0 0 0 0 0 0
1845251 AUGER, MATHIEU CA 0 0 0 0 0 0 0 0 0 0 0 0
1843425 DONOVAN, STEPHEN CA 0 0 0 0 Qo 0 0 0 0 Q 13.1 13.1
1839847 SAVANTE, NICHOLAS F US 0 0 0 0 0 0 0 0 Qo 0 0 0
1842432 HAIGH, GLORIA S CA 0 0 0 0 0 0 0 0 0 0 0 0
7670648176 MOEGNE, SOULAIMANE FR 0 oO 0 0 2.44 190.7 0 192,84 2.13 $12.1 0 514.24
1780292 GORDON, SCOTT J US 0 0 0 0 0 0 0 0 0 0 0 0
7670514533 BARBIN, DANIELLE V FR Qo 0 0 0 0 0 0 0 0 0 0 0
1777478 WILKINS, JOYCE | US 0 0 0 0 0 0 0 0 0 0 0 0
1944113 STOKAN, DEBBIE A US 0 0 0 0 0 0 0 0 0 100 0 100
1779081 BELL, AUSTIN K US 0 0 0 0 0 0 0 0 0 0 14.23 14.23
1779414 WISHENGRAD, SHARI us 0 0 0 0 0 0 0 0 0 0 0 0
1779749 OSMENT, KEVIN US 0 0 Qo 0 0 0 0 0 0 0 0 a
1780403 POLING, GARY A US 0 0 0 0 0 0 0 0 0 0 0 0
1780639 DILLON, MIKE J US 0 0 0 0 0 0 0 0 0 0 0 0
1779068 GONZALEZ, ELIZABETH US 0 0 0 0 0 0 0 0 0 0 0 0
1825667 MEIKLE, DAVID J US 0 0 0 0 0 0 0 0 0 0 0 0
1777475 CALIMLIM, ARIEL A US 0 0 0 0 0 0 13.77 13.77 0 0 0 0
1822673 LIKES, JOLENE D US Oo 0 0 0 0 Qo 0 0 0 0 0 0
1824202 BYRD, DEBBIE US 0 o 0 0 0 0 0 0 0 0 0 0
1820153 STRODE JR, JAMES M US 0 0 0 0 0 0 16.61 16.64 QO 0 0 0
7670560785 WATIER, GUILLAUME FR 0 0 0 0 0 0 0 0 0 0 0 0
1944076 COOMBS, DREW C CA 0 0 0 0 0 95.84 0 95.84 0 0 0 0
1820693 NGUYEN, DON US 0 0 0 0 Oo 0 0 0 0 0 0 0
7670649113 VERGER, MARC FR 0 0 0 0 0 42.85 0 42.85 oO 0 0 Ql
1821302 RYAN, DAVID L US 0 0 0 0 0 0 QO oO 0 0 0 0
7250167425 MCGUINESS, GRAHAM AU 0 0 0 0 0 0 0 0 0 0 0 0
1825332 LOVATO, GENEVIEVE D US 0 0 0 0 0 a 0 0 0 0 0 0
1775873 BERNAL, MARY E US 0 0 0 oO 0 0 0 0 0 0 13.53 13.53)
7170101146 SILVA LOPES, TERESA MARIA PT 0 0 0 0 0 0 0 QO 0 Qo 0 0
1776278 STEVENS, MATT US 0 0 0 0 0 0 0 0 0 0 0 0
7600741321 SOTTILE, DANIEL FR 0 0 0 0 0 0 Q 0 Q 0 43.64 43.64
1779654 COON, KATHY US 0 0 0 0 0 0 0 0 0 0 0 0
1780568 ELLIOTT-ALLEN, ANNE C CA 0 0 0 0 0 0 16.36 16.36 0 0 Q 0
1776298 ECHEVARRIA, LUIS A US 0 0 0 0 0 0 0 0 0 0 0 0
1777418 ST-JACQUES, TANIA CA 0 0 0 0 0 0 0 QO 0 0 0 0
7600769127 PIETERWAS, MARIE REINE FR 0 0 0 0 QO Q 0 0 0 0 0 Q
8404751323 VARDSTROM, NIKLAS SE 0 0 0 0 0 Qo 0 0 0 0 17.28 17.28
7670514385 BOREL, SYLVIE FR 0 0 0 0 0 0 0 0 0 0 0 0
1780326 EVANS, GARY A US 0 0 0 0 0 0 0 0 0 QO 0 0
1823733 SULLIVAN, COLEEN L US 0 0 0 0 0 QO 0 0 0 QO Q 0
7670649770 PELAGO, CEDRIC FR 0 0 0 0 0 0 0 0 0 0 0 0
7670515899 POIRE, JULIEN L FR 0 0 0 0 0 0 0 0 0 0 0 0
1775738 KASOM, KOT US 0 0 0 0 0 0 0 0 0 0 Qo a
1775793 FENDON, DONA US 0 0 0 0 0 0 0 0 0 0 0 Q
1776349 XU, YULIN US 0 0 0 0 0 0 13.63 13.63 Oo 0 0 0
1778728 RATHLOU, PAMELA H CA 0 0 0 0 0 0 13.26 13.26 0 0 0 0
7370150401 PARRAGA ROMERO, FRANKLIN JOSE ES 0 0 0 0 0 0 0 0 0 0 0 0
8870085037 SIM, LES J GB 0 0 0 0 0 0 0 0 0 0 0 0
1776032 LOPEZ, RUBEN A us 0 0 0 9 0 0 0 0 0 0 0 0
1779938 ZAUGG, GARY R US 0 0 0 0 0 0 0 0 0 0 0 0
1821120 BOSS, DAVID L US 0 0 0 0 0 0 0 0 0 0 0 0
1822495 JOHNSON, GORDON D us 0 0 0 0 0 0 0 0 0 Qo 0 0
1822503 ROMINGER, LYNNE M US 0 0 0 9 0 0 0 0 0 0 0 0
1822928 HATCHETTE, JOHN D CA 0 0 0 0 QO 0 0 0 0 0 0 0
1821491 PR COMMUNICATIONS SYSTEMS us 0 0 0 0 0 0 0 0 0 0 0 0
1823348 BOUDREAU MARTIN / THIFFEAULT SYLVIE CA 0 0 0 0 0 0 0 0 0 0 0 QO
1824320 LEARY, SHAUN M US 0 0 0 0 0 0 0 0 0 0 oO 0
8170047483 WARNCKE ANDERSEN, KIM DK 0 0 0 0 0 0 0 0 0 0 0 0
1825208 BLACK, BRENDA US 0 0 0 0 0 0 14.68 14.68 0 0 0 0
1820361 ZWEIFEL, VELTON K US 0 0 0 0 0 0 0 0 Q Qo 0 0
1823723 BLACKBURN SR, JEFF D US 0 0 0 0 0 0 0 0 0 0 0 0
7370113201 FISCHER, ANJA Es 0 0 0 0 0 0 0 0 0 0 0 0
7600835135 CORFNAT, ERIC FR 0 0 0 Qo 0 0 Qo 0 0 0 0 0
1944218 MAUGHAN, BRET W US 0 0 oO 0 0 0 0 0 0 0 0 0
1822552 BEZERRA, IRIS S US 0 0 0 0 0 0 0 0 0 0 0 0
1822553 FESTA, JOSEPH A US 0 0 0 0 0 0 0 0 0 0 0 Q
7370117721 DIAZ JIMENEZ, ANTONIO MANUEL ES 0 0 0 0 0 0 0 0 0 0 0 0
1824895 MANDEVILLE, FRAN US 0 0 0 0 0 0 0 0 0 0 0 0
1820423 ROCHA, MARIA C US 0 oO Q 0 0 0 0 0 0 0 0 0

18-cv-09936-LGS-SLC Document 696-77 Filed 03/01/24 Page 3 of 24

Case 1

A__ | 8 I I I I I J | l K I I N ] o

1836151 WHITING, JOSEPH S US 0 0 0 0 0 0 Q 0 0 0 0 0

1836863 J & MRESOURCES us 0 0 0 0 0 0 0 0 0 Q 0 0

1835310 RUSSELL, JOANNE M US 0 0 Q 0 0 0 0 0 0 0 0 0

1835312 GAGNON, MARTIN cA 0 0 0 0 Qo 0 0 0 0 QO a Q
7950181956 HASWELL, AARON K NZ 0 0 0 0 Q 0 oO QO Q 0 11.12 11.12
1838531 HIGDON, JOSEPH A US 0 0 0 Q Q 0 0 0 0 0 0 Q
7300081119 REQUEIJO CORTINAS, ERUNDINA ES 0 0 0 Q 0 0 0 0 0 0 0 0
7170096890 BASTOS, MARIO SANTOS PT 0 0 0 0 0 0 23.47 23.47 0 0 0 0
7250180347 CRISPE, TABATHA J AU 0 Q 0 0 oO 0 0 0 0 0 0 0
7600796366 RODRIGUES, AMARILDO FR 0 0 oO O 0 Oo O oO 0 0 O 0
7250167112 URBANSKI, CHRISTINE AU 0 0 Q 0 Q 0 oO 0 Q 0 9.64 9.64
8170048244 CHRISTENSEN, CHALOTTE DK 0 0 QO 0 0 0 0 0 Q 0 0 0
1835822 KREITENBERG, CLAUDIA US 0 0 0 0 Q 0 0 0 0 0 0 0

1835833 HILLIARD, RUDYARD L US 0 0 0 0 Q 0 14.64 14.64 0 0 0 Qj
8870105142 GONO, FAITH GB 0 Q oO 0 0 0 0 0 0 0 0 0
1837695 COX, NATALIE J us 0 Qo 0 0 0 0 0 0 0 9 oO Q
8870104147 MAPHOSA, HILDA H GB 0 0 0 0 0 0 Q 0 Qo 0 0 0
1835871 NAULT, DAVID R us 0 0 0 0 Qo a 0 0 Qo 0 0 0
7250182713 NONYANE, LYNDAL C AU 0 0 0 0 0 0 0 0 0 0 178.47 178.47
1835543 BROWN, MONTE D us 0 0 Q Qo 0 0 0 Q 0 Q 13.85 13.85

1835574 CROSSLAND, TIM W US 0 0 0 0 0 0 0 0 0 0 0 0

1837666 ROBERTS, MICHAEL D US 0 0 0 0 0 0 0 0 0 0 0 QO

3217 1946808 MEGZARI, SAMMY cA 0 0 0 0 0 0 0 QO a 0 0 Q
3217. 1836075 POLICARPIO, ANGELA G US 0 0 0 0 0 0 Qo 0 0 0 16,02 16.02
3217; 1836081 CANTON, EDMUNDO US Q Q 9 0 0 0 0 Q 0 0 0 0
3217. 1836774 EPPING, ANGELA R US 0 0 0 0 0 0 0 0 0 0 0 0
3217: 1836780 FLEMINGS, LEILANI N US 0 0 0 0 0 0 0 0 0 Q 0 0
3217 1833804 OBRIEN, ALICIAM us 0 0 0 Q 0 0 0 0 0 a 0 0
3217 1837659 HUTCHINSON, ANDREW Us 0 0 Qo Q 0 0 0 0 0 0 0 0
3217 1843794 CRANE, DEVON F US 0 0 0 0 0 0 0 0 0 oO 0 0
3217: 1843968 SZYCZEWSKI, SONIA US 0 Qo 0 0 0 0 0 0 0 0 0 q
32180] 7370126282 BERMAN, NELIDA —s Qo 0 0 0 0 0 0 0 0 Qo oO 0
32181] 8870121800 SRIKARASARMA, SOMASKANDA GB 0 0 0 0 0 0 0 0 0 0 0 0
3218: 1844853 DONOHUE, VINCENT P us 0 0 Qo 0 0 o 0 0 0 Q 0 0
1845628 KIM, YOON SUK US o 0 0 QO 0 0 0 0 0 00 0 400

1846208 HENNESSEY, RAYMOND M US 0 0 0 Q 0 0 0 ° 0 0 13.13 13.13
7670654200 SALHI, JAMAL FR Q 0 0 0 0 0 0 0 0 0 0 a
1806500 ARENAS JR, MANUEL B US 0 0 0 0 0 Q 0 0 0 0 0 0
7670652812 SMIDA, ENISSA FR 0 0 0 0 Qo 0 Q 0 0 0 0 0
8870104044 TELFER, DORIS M GB 0 0 0 0 0 0 0 0 0 0 Qo 0
1843341 KEHOE, MICHAEL J US 0 0 0 0 Q 0 0 0 Q 0 0 0
7670646307 BROSSAR, CEDRIC FR 0 0 0 0 0 0 0 0 0 0 0 a
1844325 CASSAVOY, JULIE CA Qo 0 0 0 0 0 13.21 13.21 0 0 Qo 0
7600768967 RODRIGUEZ, JEANINE FR 0 0 0 0 0 0 0 0 0 0 0 0
1842403 HASHWAY, MARK J US 0 0 0 0 Q 0 Q 0 0 0 0 Q
7670642635 DESCHAMPS, MONIQUE FR 0 0 Q Qo 0 Q 0 0 Q 0 Q 0
7670579347 CHARMASSON, MURIEL FR 0 0 0 0 0 0 0 0 Q 0 0 Q
1952486 BOCKWOLDT, JAMIE Us 0 0 0 0 0 0 0 0 Q 0 0 0

1843597 GONZALEZ, HIRAM | US a 0 0 0 0 oO 0 0 0 0 0 Q

1843604 SIKES, BARB J us Q 0 0 0 0 0 0 0 0 0 0 Q

1831963 OLINSKI, TINA M US 0 0 0 0 0 0 Q 0 0 0 0 0

1845668 DALGAARD, LISA us 0 0 0 0 0 0 0 0 0 0 0 0

1841167 ERICKSON, ALEX W US 9 Q 0 0 0 0 0 0 0 0 0 0

1840062 ARELLANO, MANUEL J us Qo Q 0 0 Q 0 0 0 Qo 0 0 0

1840488 SULLIVAN, PATRICIA L US Qo 0 0 0 0 Qo 0 0 0 Oo 0 0

1840689 SAUCIER, JACQUELINE L US Q 0 0 0 0 0 Q 0 Qo 0 0 a

1841341 RAGSDALE, JENNIFER US 0 0 0 0 0 0 0 Q 0 0 0 Q

1838988 PINI, JEFFREY M US 0 0 0 Qo 0 QO QO 0 0 Q 16.45 16.45)

1841828 SUING, KELLIE E us 0 Qo 0 Q 0 0 0 Q 0 Qo 0 0

1842078 FORBES, RAY T US 0 Q oO Q Q 0 0 Q QO 0 0 0

1840085 ROSSI, GINA US 0 Q 0 0 Qo 0 0 QO 0 0 Q Ql

1840930 BIONDO, JOHN US 0 0 0 0 Q 0 13.84 13.84 Q 0 Q 0

[32211 1843275 ROSE, LINDAM US 0 Q 0 0 QO 0 0 0 0 0 0 0
132212 1841843 BRENNAN, LEVI T US 0 0 Q 0 0 0 0 0 0 QO 0 0
132213 1842796 CHENES, CATHERINE US 0 0 0 0 0 0 0 0 0 0 0 0
132214 1841171 LAMOREUX, JOHN C US 0 0 0 0 0 0 0 Q 0 0 0 0
132215 1949879 DIXON, NICHOLLE R US 0 0 0 0 Qo 0 0 0 0 0 0 0
132216 1843509 ADZA, KOFI P US 0 0 Q Q 0 Q 0 0 Q Q 0 0
132217} 7670653188 PESCATORI, TANGUY M FR 0 0 0 0 43 186.41 0 192.84 Q 0 0 0
132218} 8870092977 LOUGHRAN, MALACHY GB 0 0 0 0 0 Q 0 0 0 0 0 0
3221 1845337 AUTRY, CULLIS J US Q 0 0 0 0 0 0 Q 0 0 0 Q
3222 1843526 HIRSCH, DANNY US QO 0 Qo 0 0 0 0 0 0 0 0 Q
132221 1842340 THURSTON, CHARMELLE E US 0 0 0 0 0 0 0 Q 0 0 0 0
132222 1842586 DUCHESNE, FRANCOIS CA 0 0 Qo 0 0 0 0 0 0 0 0 0
[32223] 8870103017 GUEST, GRAHAM K. GB 0 0 0 0o 0 0 0 0 0 Oo 0 0}
32224] 7300074881 GARCIA GIL, NICOLAS ES 0 QO 0 0 0 0 0 o 0 0 0 0
1831710 ACOSTA, JIMMY G US 0 0 Q QO 0 0 0 0 0 0 0 Q
7370124604 LARA OSUNA, MANUEL —s 0 0 0 0 Q 0 0 0 Qo Q 0 9
7250177389 LASANCE, ROBERT AU 0 a 0 0 0 Q 11.54 11.54 0 0 0 0
7250185363 HAMADE, BILAL AU Q 0 0 0 0 0 0 0 0 0 10.38 10.38)
1846151 ROCHA, LISAH US 0 oO 0 0 9 0 0 0 0 0 Qo 0
7250181200 SCHWARXER, CHRISTOPHER AU 0 0 0 Q 0 0 0 0 Q 0 0 0
1845859 JAMAL, YAMIN CA Qo 0 0 Qo 0 0 0 Qo 0 0 Q Q
8170048264 DOGAN, CANAN DK 0 0 0 0 0 0 0 0 0 Q 0 0
1834753 HERNANDEZ, RUTH A US QO 0 0 0 0 0 0 Qo 9 0 0 0
7670653157 GOMEZ, ALEXIA FR 0 0 0 0 0 0 0 0 0 0 0 O
7670560148 BENABDELKADER, ROMAIN FR 0 QO oO Qo 0 0 0 0 QO 0 0 Q
1833089 WEBERLING, SERGIO US 0 0 0 Qo 0 0 0 0 0 0 0 0
7670579167 CHAMARD, LUCIE FR 0 0 0 0 0 0 0 0 0 0 0 0
7400601452 THERAULAZ ZIBLIM, ANNELYSE CH 0 0 0 0 0 0 0 0 0 0 Q 0
1833104 HICKS, DAVID AND DEBBIE US 0 0 0 0 Q 0 0 0 0 0 0 0
7600800374 RICHARD, SEBASTIEN FR 0 0 0 QO 0 0 0 0 0 0 0 Q
1634032 COX SR, JOHN T US 0 0 0 0 0 0 0 0 0 QO 0 Qo
7670574240 DEGEUSE, DAVID FR 0 Q oO 0 Q 0 0 o 0 QO 0 0

18-cv-09936-LGS-SLC Document 696-77 Filed 03/01/24 Page 4 of 24

Case 1

A__] B I I I ] I H I I J [ M I N I
32055] 1840572 ABRAZALDO, ARIEL CA 0 0 0 0 0 0 0 0 0 0 0 0
32056} 1841429 TIWARI, PARVEEN CA 0 0 0 0 0 0 22.87 22.87 0 0 0 a
32057) 7670652431 BASSET, ANNICK FR 0 0 0 0 0 Qo 0 0 0 0 0 0
32058) 1841915 BEVERFORD, DEMETRIUS US Q Qo Qo 0 0 0 0 0 0 0 0 0
32059} 1815143 FENNELL, DAVID US 0 0 0 0 0 0 0 0 0 0 0 0
32060} 1839479 RINGGENBERG, PAMELA J US 0 0 0 0 0 0 14.58 14.58 0 0 0 0
32061 1810373 IBARRA, GRABRIEL US O 0 oO 0 0 0 0 0 oO 0 0 0
32062] 1839481 BRAXMEYER-DODGE, SHELLIE P us 0 0 0 0 0 0 0 0 Q 0 0 0
32063} 1812318 EYSERBECK, WILLIAM US 0 0 0 0 0 0 0 0 0 Q 0 0
32064) 1817383 ALVARADO, SERGIO US 0 0 oO O 0 oO 0 0 Oo 0 0 0
32065] 1840166 BENSON, DENNIS E US 0 0 0 QO 0 0 0 0 0 0 0 0
32066] 1810374 GRAVEL, JOCELYNE CA 0 0 0 0 0 Oo 0 o 0 0 0 0
32067] 1840744 IVANYUK, ANDREY M US 0 0 0 oO 0 0 14.23 14.23 0 0 0 0
32068) 7670514828 BENOIT, OLIVIER FR Q 0 QO 0 0 0 0 0 0 0 0 0
32069) 7670516108 BUFFARD, THIERRY FR QO 0 0 0 Qo 0 0 0 0 0 0 0
32070) 7670559806 BRU, AURELIEN FR 0 0 0 0 0 0 0 0 0 192.84 0 192.84
32071 1817503 PREVETTE, DARRELL V US 0 0 0 0 0 0 0 0 0 0 0 0
32072} 7670652885 PROUVEUR, EMILIE M FR 0 0 0 0 0 0 0 0 0 0 0 0
32073} 1813113 DELMAR, MARIESSA US 0 Qo 0 0 0 0 0 0 0 0 0 0
32074) 1951676 UY, EDWIN H Us 0 0 0 0 0 0 0 0 0 0 0 0
32075] 7670553147 FOLLY, MICHAEL ANGE ADADE FR 0 0 0 0 0 0 0 0 0 192.84 0 192.84
32076] 1840385 RILEY, TERESAA US 0 0 0 Qo 0 0 0 0 0 0 0 0
32077) 8870121603 SATHIARAJ, JUDE R GB 0 0 0 0 0 0 0 0 0 0 0 0
32078] 1841178 HENSON, GILBERT CA 0 0 0 0 0 0 13.57 13.57 0 0 0 0
32079} 1842081 GARAY, JOSE A us 0 o 0 0 0 0 0 0 0 0 0 0
32080) 1842088 KEDZIERSKI, MARGO KIM US 0 0 0 0 0 0 0 0 0 0 0 0
32081 1816850 LEACH SR, BRIAN D US 0 0 0 0 0 0 16.86 16.86 0 0 0 0
32082) 1815405 BOLINGER RADWAN, KRISTEN US 0 0 0 0 0 0 0 0 0 0 0 0
32083) 7670578041 CHOPIN, GERARD A FR 0 0 0 0 0 42.85 0 42.85 0 0 0 0
32084 1834905 PANTOJA, MANUEL US 0 0 0 0 0 0 0 0 0 0 16.81 16.81
3208: 1831579 POQUIZ, KELLY ANNE S US 0 0 0 0 0 0 0 0 0 0 0 0
32086 1832275 O DALY, STEVEN T US 0 0 0 0 0 0 0 0 0 0 0 0
32087] 1832501 OTTAVIANI, LOUIS US 0 0 0 0 0 0 0 0 0 0 0 0
32088) 7670532547 CALVIN, AGNES FR 0 0 0 0 0 0 0 0 0 0 0 0
32089} 1832981 KNESTRICK, FORREST US Qo 0 0 0 0 0 0 QO 0 0 0 0
32090) 1833888 SNOWDEN, JAMIECA Y US 0 0 0 0 0 0 0 0 0 0 0 0
32091) 1832053 TK GROUP LTD CA 0 0 0 0 0 0 0 0 0 0 0 0
32092 1832990 MOTTA, CARLO US 0 0 0 0 0 0 0 0 0 0 0 0
32093} 1949759 STRANDE, ALEKSANDER US 0 0 0 0 -75 75 0 0 0 100 0 100)
32094] 1833736 LEE, STEVEN B US 0 0 0 0 0 0 0 0 0 0 0 0
32095) 7670575465 ALGANS, EDITH M FR 0 0 QO 0 0 0 0 0 ° 0 0 0
32096} 1832958 HARRIS, LATOYIA US 0 0 0 0 0 0 0 0 0 0 0 0
32097] 1831341 LYONS, LYNDA J CA 0 0 0 0 0 0 20.65 20.65 oO 0 0 0
32098} 1831412 COSME, JEANNINE US Qo 0 0 0 0 0 0 0 0 0 13.86 13.86
32099] 7600796579 DIMINO, ALINE FR 0 0 0 0 0 0 0 0 0 0 0 0
32100} 1833719 COUTURE, MAGALIE CA 0 0 0 0 0 0 0 0 0 95.84 0 95.84
32101 1833954 CARRILLO, ISABEL US 0 0 0 0 0 0 0 0 0 0 0 0
32102) 1834207 HENDRON, THOMAS W. US 0 0 0 0 0 0 0 0 0 0 0 0
32103) 7600720820 CATANIA, ALAIN FR 0 Qo 0 0 0 0 0 0 0 0 0 0
32104} 1832566 SIMARD, RUNE AND LINDA US 0 0 0 0 0 0 0 0 0 0 0 9
32108] 1834797 RODWAY, DAVID J US 0 0 0 0 0 0 19.59 19.59 0 0 0 0
32106 1833683 PERRY, DANIA US 0 0 0 0 0 0 0 0 0 0 0 0
32107] 7670574131 SAKO, SADIO FR 0 0 0 0 0 0 0 0 0 0 0 0
32108) 7370110861 FERANDEZ HERREIRA, BLANCAMARIA ES. 0 0 0 0 0 0 0 0 0 0 0 0
32109) 8070027214 BIERINGA SPAKMAN, TINEKE NL 0 0 0 0 0 0 0 0 0 57.14 0 $7.14
32110 1834818 EDMUNDSON, DAVID W US 0 0 0 0 0 0 0 0 0 0 0 0
32111 1832445 MASON, WENDY L US 0 0 0 0 0 0 13.9 13.9 0 0 0 0
32112] 1834068 FOUNTAIN, DANIEL J US 0 0 0 0 0 0 0 0 0 0 0 0
32113] 1831547 ROGERS, TERENCE S US 0 0 0 0 0 0 0 0 0 oO 0 oO
32114] 1832458 SCHMIDT, KEVIN US 0 0 0 0 0 0 0 0 0 0 0 0
32115] 7600794553 MINARY, PHILIPPE FR 0 0 0 0 0 0 0 0 0 0 0 Q
32116) 1833142 WRIGHT, BERT J us 0 0 0 0 0 0 0 0 0 0 0 0
32117] 1831392 COLE, DONNAL US 0 0 0 0 0 0 0 0 0 0 0 0
32118) 1834578 MOSELEY, LOUIS F US 0 0 0 0 0 a 0 0 0 0 0 0
32119) 1834117 SMITH, JEFF D US 0 0 0 0 0 0 14.83 14.83 0 0 0 0
32120 1832237 EVANS, NICHOLAS CA 0 0 0 0 0 0 0 0 0 0 0 0
32121 1832466 JONES, NICHOLAS A US 0 0 0 0 0 0 0 0 0 0 0 0
32122] 1950260 LETOURNEAU, MARIE CA 0 0 0 0 0 0 0 0 0 0 0 0
32123] 1832474 VANDERWAL, ADAM R US QO 0 0 0 0 0 0 0 0 0 0 0
32124] 1833861 DELAY, JANE M US 0 0 0 0 0 0 14.55 14.55 0 0 0 0
32125) 1833862 DINARDO, KATHLEEN M US 0 0 0 0 0 0 0 0 0 Qo 15.11 15.11
32126) 7670574339 BILLON, CATHERINE M FR 0 0 0 0 0 0 0 0 QO 0 0 0
32127] 1832257 MILLS, CHRISTOPHER D us 0 0 0 0 0 0 0 0 0 0 0 0
32128] 7250180579 HASANI, ARBEN AU 0 0 0 0 0 0 0 0 0 0 0 0
32129] 1833739 TODD, JAMES E US 0 0 0 0 0 0 0 0 0 0 0 0
32130 1833855 HOLMES, LISA US 0 0 0 0 0 0 0 0 0 0 0 0
32131 1835927 GEYER, JOHN F US 0 0 9 0 0 0 0 0 0 0 13.92 13.92,
32132} 1838143 LIARAKOS, LEON CA 0 0 0 0 0 0 0 0 0 0 0 0
32133) 7800328876 PONTECORVI, FABIO IT 0 0 0 0 0 214.27 0 214.27 0 Qo 0 oO
32134) 1835893 COUSINS SOLUTIONS US 0 0 0 0 0 0 0 0 0 0 0 0
32135} 1835678 REIMER, DEBRAL Us 0 0 0 0 0 0 13.31 13.31 0 0 0 0
32136) 7670651443 FINKELSTEIN, GERARD FR 0 0 0 0 0 0 0 0 0 0 0 0
32137] 7670639618 MOURET, RENEE FR 0 0 oO 0 Qo 0 0 0 0 0 0 0
32138} 1837944 BELISLE, DOUGLAS R US 0 0 0 0 0 0 0 Q 0 0 Qo 0
32139) 7170100806 DA SILVA, JOSE AUGUSTO PT 0 0 0 0 0 0 0 o 0 0 Q 0
32140) 1838203 FEENEY, JAMES US 0 0 0 0 0 0 0 0 0 0 0 0
32141 1833047 PALACIOS, RUDDY US 0 0 0 0 0 0 0 0 0 0 0 0
32142) 7670576253 NGUYEN, WILLIAM FR 0 0 0 0 0 0 0 0 0 0 Qo 0
32143) 7670577531 BAYE, LENAIC FR 0 0 0 0 0 599.95 0 599.95 0 192.84 0 192.84
32144] 7370101387 SANTOS BUIDE, MARTA ES 0 0 0 0 0 0 0 0 0 0 0 0
32145) 1837735 SWEENEY, JACQUELINE US 0 0 0 0 0 0 0 0 0 Qo 0 0
32146] 1838204 FUGATE, JANET R US 0 0 0 0 0 0 0 0 0 0 0 0
32147) 7250181958 HAMENCE, FAYE AU 0 0 0 Qo 0 0 0 0 0 0 10.13 10.13)
32148) 1835950 METZGER, LYNNA US oO 0 oO 0 0 0 0 0 0 0 QO 0}

18-cv-09936-LGS-SLC Document 696-77 Filed 03/01/24 Page 5 of 24

Case 1

A I B

I I ] [ I I
36307 COST, CURTIS E Us 0 0 0 0 0 0 0 0 0 0 0 0
8103325871 JILSOE, BENTE AND RENE DK 0 0 0 0 0 0 0 0 0 0 0 0
7400523761 VIDOVIC CONSULTING CH 0 0 0 0 0 0 0 0 0 0 0 Oo
38307 BARNUM, KAREN R us 0 0 0 0 0 0 0 0 0 0 0 QO
592566 JACOBS, JARED W US 0 0 0 0 0 0 0 0 0 0 0 0
565597 ANDERSON, JENNIFER K AND EARL us 0 0 0 0 0 0 0 0 0 0 0 0
1813009 SARCIONE, WILLIAM N us 0 0 0 0 0 0 0 0 0 0 0 0
1839510 SABBAGH, PETER J us 0 0 0 0 0 0 0 0 0 0 0 0
1838924 DOLLOFF, CRAIG C us oO 0 0 0 0 0 0 0 0 0 0 0
1838934 JIMENEZ, DANILO us 0 0 o 0 0 ° 0 0 0 0 0 0
1841297 REESE, CHRIS R us 0 0 o 0 0 0 0 0 0 0 0 0
1841779 BREINER, KRISTOPHER M us 0 0 0 0 0 0 ° 0 0 0 0 0
1812446 PALAU, JORGE us 0 0 0 0 0 0 0 0 0 0 0 0
1811778 DOTSON, NICOLE M us 0 0 0 0 0 0 0 0 0 0 0 0
1839605 LARSEN, RONNI M us 0 0 0 0 0 0 0 0 0 0 0 0
1840676 EVERETT, CATHERINE E us 0 0 0 0 0 0 0 0 0 0 0 0
1940324 MILLARE, GARY J us 0 0 0 0 0 0 0 0 0 0 0 0
8170046583 REAL MARKETING DK 0 0 0 0 0 Oo 0 0 0 0 0 o
1812833 ROBERTS, OWEN J CA 0 0 0 0 0 0 15.75 15.75 0 0 0 0
1819269 WILLERTON, CYNDI us 0 0 0 0 0 0 0 0 0 0 0 0
1841692 SENKOWSKI, STANLEY R us 0 0 0 0 Oo 0 0 0 0 0 0 0
1940294 MEMORY, DONNA M us 0 0 0 0 0 0 0 0 0 0 0 0
7800330728 DE FALCO, ROBERTO IT o 0 0 0 0 0 0 0 0 0 0 0
1840390 HALBASCH, JERRY L us 0 o ° 0 0 0 0 0 0 0 o oO
7670654338 N CHO, ALBAN FR 0 0 0 0 0 0 0 0 0 0 0 0
7200310905 SEQUEIRA, KEN AU 0 0 0 0 0 0 9.42 9.42 0 0 0 0
8103490903 MBJ MUSIK DK 0 0 0 0 0 0 0 0 0 0 Q 0
7600761669 GRENECHE, ALINE FR 0 0 0 0 0 0 Oo 0 o 0 0 0
1842044 CARTER, MACKENZIE F us 0 0 0 0 0 0 0 0 0 100 0 100)
1839286 MURATORE, CHRISTINA A us 0 0 0 0 0 0 0 0 0 0 0 0
1839102 ESPINOZA, VERONICA M us 0 0 0 ° 0 0 0 0 0 0 14,02 14.02
7370128181 GARCIA PUERTA, MARIA DOLORES ES 0 0 0 0 0 0 0 0 0 0 0 0
1838901 FRANCO, SCOTT A us 0 0 0 0 0 0 0 0 0 0 15.71 18.71
7670557525 TESTUT, PASCAL J FR 0 0 0 0 0 0 0 0 0 0 0 0
1841260 ROANHOUSE, JIM us 0 0 0 0 0 0 0 0 0 0 0 0
1817313 CARR, SHARYN Y us 0 0 0 0 0 0 0 0 0 0 Oo Q
1812308 APPLEBAUM, MARY LOUISE us 0 0 0 0 0 0 0 0 0 0 0 0
7600831504 ICHOUANE, HAMAD FR 0 0 0 0 0 0 0 ° 0 0 0 oO
8170046443 BOISEN-TH@GERSEN, CAROLINE DK 0 0 0 0 0 0 0 0 0 0 0 0
1839985 AGHA, RAZA us 0 0 0 0 0 0 0 0 0 0 0 0
1840426 ARTE-HOWELL, BECKY A us 0 0 0 0 0 0 0 0 0 0 0 0
1840178 MATZANKE, SHARON CA 0 0 0 0 0 0 0 0 0 0 0 oO
1840626 HERNANDEZ, CHARLES A us 0 0 0 0 0 100 0 100 0 0 0 0
1841526 SKIVER, GEOFFREY S us 0 0 0 0 0 0 0 0 0 0 0 0
1841508 BARRERA, GONZALO F us 0 0 0 0 0 0 16.05 16.05 0 0 0 0
1839094 FORD, SHANTE L us 0 0 0 0 0 0 0 0 0 0 0 0
7370156001 CASTANO MALDONADO, PABLO ES 0 0 0 0 0 0 0 0 0 42.85 0 42.85
1846240 TAYLOR, IRENE F us 0 0 0 0 0 0 0 0 0 0 0 0
1839127 LOWREY, DAWN us 0 0 0 0 0 0 0 0 0 0 0 0
1812356 JONES, BETTY C us ° 0 0 0 0 0 0 0 0 0 15.16 15.16)
1840846 WILLIAMS, GARY us 0 0 0 0 0 0 ° 0 0 0 0 0
7670578694 DA COSTA, PEGGY FR 0 0 0 0 0 0 0 0 0 0 0 0
1812503 LARSON, NAOMI A us 0 0 0 0 0 0 0 0 0 0 0 0
1841261 ARMSTRONG, KIMBERLY A us 0 0 0 0 0 0 0 0 0 0 0 0
7670654342 BARADJI, HATOUMATA FR 0 0 0 0 0 0 0 0 0 0 0 0
1815663 GARDNER, SUSAN L us 0 0 0 0 0 0 0 0 0 0 0 0
1812413 CHANDLER, CHARITY C us 0 0 0 0 0 Oo 0 0 0 0 0 0
1815174 DORLAND, ERIC L us 0 0 0 0 0 0 13.85 13.65 0 0 0 0
1814538 KITHCART, GREGORY us 0 0 0 0 0 0 0 0 0 0 0 0
8170037971 FOREVER V/ TINA ODEGAARD DK 0 0 0 0 0 0 o 0 0 0 0 Q
1813325 CASASSA, LORENA A us 0 0 0 0 0 0 0 0 0 0 0 0
1843763 KYLO, ANNDREYEA T CA 0 0 0 0 0 0 13.14 13.14 0 0 0 0
7600792224 GUYOT, DANIEL FR 0 o 0 0 0 0 0 0 0 0 0 0
1810818 CASTRO, FABIAN D US 0 0 0 0 0 0 0 0 0 0 0 0
1814124 HIGGINS, THAD A us 0 0 0 0 0 0 0 0 0 0 0 0
7670557245 GHERIBI, FATMA FR 0 0 0 0 0 0 0 0 0 321.4 0 321.4
1810788 LEE, JOYCE A us 0 0 0 0 0 0 0 0 0 0 0 0
1810693 ALEGRE, BRANDO US o 0 0 0 0 0 0 0 0 0 0 0
1810649 BURGART, LARRY CA 0 0 0 0 0 0 0 0 0 0 0 0
1817643 PALOMO, KRISTINA M us 0 0 0 0 0 0 0 0 0 0 15.9 15.9
1839250 BURROUGHS, ROBERT T us 0 0 0 0 0 0 0 0 0 0 0 0
1839639 STALEY JR, RONALD us 0 0 0 0 0 0 0 0 0 0 0 0
1818128 NISSIM, RENE N us 0 0 0 0 0 0 0 0 0 0 0 0
1812345 DERY, MARK A us 0 0 0 0 0 0 0 oO 0 0 0 oO
1812574 EKSTEEN, MICHAEL B us 0 0 0 0 0 o ° 0 0 0 0 Q
1816993 ALMEIDA SR, JOSE L us 0 0 0 0 0 0 0 0 oO 0 0 0
1810958 JOHL, MARGARET P us 0 0 0 0 0 0 0 0 0 0 0 0
7370159785 REI BERMUDEZ, ANTONIO ES 0 0 0 0 0 0 0 0 0 0 0 0
1810855 CROSBY Ill, VINCENT H us o 0 0 0 0 0 0 ° 0 0 0 oO
1819681 CARROLL, NANCY L us 0 0 0 0 0 0 0 0 0 0 0 Q
1810770 GARCIA, SILVESTRE us 0 0 0 0 0 0 0 0 0 0 0 0
1818053 PORTELANCE, ANTOINE CA 0 0 0 ° 0 0 0 ° 0 0 0 oO
8870116780 GRANGER, LEWIS GB 0 0 0 0 0 0 0 0 0 0 0 0
1818208 BUI, TAN us 0 0 0 0 0 0 0 0 0 0 0 0
7370110901 LOPEZ GONZALES, FERNANDO ES 0 0 0 0 0 0 0 0 0 0 19.36 19.36
7800297485 DI MARZO, ANTONIO IT 0 0 0 0 0 0 0 0 0 0 0 oO
1812639 PARRY, SCOTT B us 0 0 0 0 0 0 0 0 0 0 14.56 14.56]
7670652658 AGNIEL, MARTIN FR 0 0 0 0 0 0 o 0 0 0 0 0
1810853 DESEMBOQUE DEVELOPMENTS LLC us 0 0 0 0 0 0 0 0 0 0 0 0
1842118 LIPAT, JULIO D us 0 0 0 0 0 0 0 0 0 0 0 QO
7300074763 ALVAREZ DIEGO, JOSE ANTONIO ES ° 0 0 0 0 571.38 19.48 590.86 0 0 0 0
1841894 HOWARD, BRIAN S us 0 0 0 0 0 0 0 0 0 0 0 0
1816974 SAMMY HOPKINS, FLORA HERNANDEZ OR US 0 0 0 0 0 0 0 0 0 0 0 0
1838829 TOWNE, JEANETTE us 0 0 0 0 0 0 0 0 0 0 oO 0

18-cv-09936-LGS-SLC Document 696-77 Filed 03/01/24 Page 6 of 24

Case 1

| A__ | B I I I J ] | I ] K I I I I
[31867] 7670662688 DAHBI, TAHRA-SANA FR 0 0 0 0 0 0 0 0 0 0 0 0
[31868] 8906493253 WERDER, HILDEGARD DE 0 0 0 0 0 0 0 0 0 0 0 oO
[31869] 58363 HARPER SR, RICHARD J us 0 0 0 0 0 0 0 0 0 0 0 O}
[31870 59797 ALLEN, KELLY L us 0 0 0 0 0 0 0 0 0 o 0 O}
31871 62217 LIPSCOMB, RICHARD D us 0 0 0 oO 0 0 0 0 0 0 ° ql
[31872] 8702095542 JENSSEN, STIG COLLIN NO 0 0 0 0 0 0 0 0 0 0 0 O|
[31873] 7700202302 MURPHY, PATRICK Ie 0 0 0 0 0 0 0 0 0 0 0 O|
(31874 1910317 RAFFIN, CRESSIDA L CA 0 0 0 0 0 479.18 0 479.18 0 0 0 0
[318 663811 LAMMERS, JESSICA M US 0 0 0 0 0 0 0 0 0 0 0 0
[31876] 8906216437 IMMOB.ANJA TOBER DE 0 0 0 0 0 0 0 o 0 0 0 O}
[31877 1054592 LEDEZMA-WICHAPOOL, DESIREE & JASON US 0 0 0 0 0 0 0 0 0 0 0 |
1878) 8404207120 JOHANNESSON, ANDERS SE 0 0 0 0 0 0 0 0 0 0 0 0
[31878 594106 CRAWFORD, MICHELLE L us 0 o 0 o 0 0 o 0 0 ° 0 oO
[31880] 8404619541 BERGSTROEM, ANNA-CHARLOTTE SE 0 0 0 0 0 0 0 0 0 0 0 0
662301 CHAPMAN, BRANDIE us 0 0 0 0 0 0 0 0 0 0 0 0
61336 KJM AND COMPANY LLC us 0 0 0 0 0 0 0 0 0 0 0 0
61821 LORD, LAWRENCE L us 0 O 0 0 0 0 0 0 0 0 0 0
8906151224 LORENZ, GERD DE 0 0 0 0 0 0 0 0 0 0 0 O|
8906156335 MARTIN, SIMONE DE 0 0 0 0 0 0 0 0 0 0 0 O|
7800008546 ROTTENSTEINER, KARL IT 9 0 0 0° 0 0 0 0 0 0 0 |
8003610890 GAJADHAR, SUDESH KOEMAR NL 0 0 0 0 0 0 0 0 0 0 0 0
1052722 HUFFMAN, ANTOINE us 0 0 0 0 0 0 0 0 0 0 0 0
8905955800 SCHMELZER, UNDINE DE 0 0 0 0 0 Q 0 0 0 0 0 0
64918 LOADHOLT, MAURICE us 9 0 0 0 0 0 0 0 0 0 0 O}
397306 BARKER, CLYDE & SHYLA us 0 0 0 0 0 0 0 0 0 0 0 |
401787 KENTON, NANCY L us 0 0 0 0 0 0 0 0 0 0 0 0
8906213940 DUDDA, ANDRE DE 0 0 0 0 0 0 0 0 0 0 0 Q|
8906214276 DOERING, RAMONA DE 0 0 0 0 0 0 0 0 0 0 0 0
8906300544 GELER, REINHARD DE 0 0 0 0 0 0 0 o 0 0 0 O}
64529 CORKRAN, PHYLLIS M us 0 0 0 0 0 0 0 0 0 0 0 o|
1055093 MCCOY, ORAL us 0 o 0 0 0 0 0 0 0 0 0 O|
59207 PEARSON, LINDA S us 0 0 0 0 0 0 0 0 0 0 0 o|
58329 JONES, MAE T AND CHARLIE L us 0 0 0 0 0 0 0 0 0 0 0 o|
64029 FORGENIE, RENEE M us 0 0 0 0 0 0 0 0 0 0 0 0
64265 NOVAK, MICHAEL A us 0 0 0 0 0 0 0 0 0 0 0 0}
1050853 GARCIA, TARA us 0 0 0 0 0 0 0 0 oO 0 0 O
61656 NEEDLEMAN, ARNOLD us 0 0 0 0 0 0 0 0 0 0 0 |
62601 BERKO-BOATENG, JUSTIN us 0 0 0 0 0 0 0 0 0 0 0 O|
477111 BOWEN, THERESA us 0 0 0 0 0 0 0 0 0 0 0 0
593400 KNIPPERS, CAROLYN S us 0 0 0 0 0 0 0 0 0 0 0 Q|
8103327083 HARDING, JENSEN MALU DK 0 0 0 0 0 0 0 0 0 0 0 0
8882806096 RAZII, MOHAMMAD NASSER GB 0 0 0 0 0 0 0 0 0 0 0 0}
58781 ESHELMAN, RAYMOND M us 0 0 0 0 0 0 0 0 0 0 0 |
60723 KUCHTA, KATHIE B us 0 0 0 0 0 0 0 0 0 0 0 0
1732527 JORDAN, DAVID M us 0 0 0 0 0 0 0 0 0 0 0 o|
8906311037 THEUERGARTEN, JOERG DE 0 0 0 0 0 0 0 0 0 0 0 0
8402532580 JIRLEN, SONNY SE 0 0 0 0 0 0 0 0 0 0 0 O
35409 ABS ACCOUNTING & TAX SERVICES us 0 0 0 0 0 0 0 0 0 0 0 0
8906156808 GUETH, ANDREAS DE 0 0 0 0 0 0 0 0 oO 0 0 0
34406 BELTON, ZACHERY L US 0 0 0 0 0 0 0 0 o 0 0 Ql
7250003392 AU 0 0 0 0 0 0 0 0 0 0 0 0
8003656968 KARAMOY, ANDRIE NL 0 ° 0 9 0 0 0 0 0 0 0 0
397095 READ, SCOTT us 0 0 0 0 0 0 0 0 0 0 0 |
1633294 ISENSEE, GERALD L us 0 0 0 0 0 0 13.17 13.17 0 o 0 O}
8203006262 LAURIALA, HELENA FI 0 0 0 0 0 0 0 0 0 0 0 O|
7670704545 ROUGY, SYLVIE FR 0 0 0 0 0 42.85 0 42.85 0 0 0 O|
41310 BART Ill, ROBERT L us 0 0 0 0 0 0 0 0 Q 0 0 ol
8906302124 HUPPERTSBERG MEHLING, ANGELIKAS DE 0 0 0 0 0 0 0 0 0 0 0 0
693122 MINOR, MARY us 0 0 0 0 0 0 0 0 0 0 0 o|
8103454242 KRISTIANSEN, BO DK 0 0 0 0 0 0 0 0 0 0 0 0
40275 LOCKETT JR, GEORGE us 0 0 0 0 0 0 0 0 0 0 0 Q}
37889 WISE OWL ASSOCIATES us 0 0 0 0 0 0 0 0 0 0 0 O}
566242 COPE, ELISAE us 0 0 0 0 0 0 0 0 0 0 0 |
7250003698 |.S.&8M. AGENCIES PTY.LTD AU ° 0 0 0 0 0 0 0 0 0 0 0
492784 HERNANDEZ, INGRID A us 0 0 0 0 0 0 0 0 0 0 0 |
493119 DIAS, GAIL C us 0 0 0 0 0 0 0 0 0 0 0 |
40872 GAYNOR, CLARKE M us 0 0 0 0 0 0 0 0 0 0 0 Q
8103378832 KUDSK, KARL DK 0 0 0 0 0 0 0 0 0 0 0 Q|
1023717 SANDERSON, REBECCA us 0 0 0 0 0 0 0 0 0 0 0 O|
7200005699 WARCABA, PAUL AU 0 0 0 0 0 0 0 0 0 0 0 0
1024719 ROSE, BONNIE CA 0 0 0 0 0 0 0 0 0 0 0 0
478160 PINDER, COLIN J cA 0 0 0 0 0 0 0 0 0 0 0 q
691392 RAMOS, MICHAEL L us 0 0 0 0 0 0 0 0 0 0 0 Q)
688536 SMITH, RENEE A us 0 0 0 0 0 0 0 0 0 0 0 |
565425 ZWICK, MICHAEL D us oO 0 0 0 0 0 0 0 0 0 0 0
8003581346 JOEMAN, FERIED NL 0 0 0 0 0 0 0 0 0 0 0 0
58523 HUNT, DANIEL E us 0 0 0 0 0 0 0 0 0 0 0 0
61890 SMALL, B SHARITA us 0 0 0 0 0 0 0 0 0 0 0 O}
8906152765 SCHEIBNER, KLAUS DE 0 0 0 0 0 0 0 0 0 0 0 0
662328 ARNOLD, BRIAN & TRISHA us 0 0 0 0 0 0 0 0 0 0 0 Q
8906435816 WEISHEIT, STEFAN DE 0 0 0 0 0 0 0 0 0 0 0 0
34778 MCRAE, CARL H us 0 0 0 0 0 0 0 0 0 0 0 0}
36279 FSUF ANNUAL FUND us 0 0 0 0 0 0 0 0 0 0 0 0
567700 VANFLEET, JILL E us 0 0 0 0 0 0 0 0 0 0 0 0}
40684 CHAVALLO, HILDA P us 0 0 0 0 0 0 0 0 0 0 0 |
566215 HOOPER, SAMMY R us 0 0 0 0 0 0 0 0 0 0 0 Q
687638 BARIL, MAURICE C US 0 0 0 0 0 0 0 0 0 0 0 0
40289 OSWALD, RICHARD J us 0 0 0 0 0 0 ° 0 0 0 0 0
8906269365 RADICK, KARL DE 0 0 0 0 0 0 0 0 0 0 0 0
7250003495 THE BUSINESS VOICE AU 0 0 0 0 0 0 0 0 0 0 0 0
36264 COURSEAULT, SASHENNE T us 0 0 0 0 0 0 0 0 0 0 0 0
8700704520 LANGHUS VIDEO KIOSK NO 0 0 0 0 0 0 0 0 0 0 0 O|
§65489 SWINDLE, LINDI J AND OTIS us 0 0 0 0 o 0 0 0 0 0 0 0
8906209444 TEMM, ULRICH DE 0 0 0 9 0 0 0 0 o 0 0 0

18-cv-09936-LGS-SLC Document 696-77 Filed 03/01/24 Page 7 of 24

Case 1

A B

=

BPS se eee eecer:

1666589 VILLARREAL, JANET R
8702051472 JENSSEN, EIRIK ALMAR
8103449480 JENS JUUL

35691 JOYCE, DARRELL B
38620 TOTH, ANDREW L
494032 MARKOV, MICHAEL
8103339091 PEDERSEN, TOM
8003553677 OOIJEK VAN, PETER
7600231868 TARDY, LAURENT
60620 SLAVIN, FRED
1025366 GARROW, NATHAN
1696803 PREPOUTSE, VASILIKI
41440 CARTER, KWESI
692018 BERNATOWICZ, LYNN
7800061313 CARMELO, GENNARO
34105 AGAPE FELLOWSHIP
8904265240 NACHBAUER, OLGA
491816 BLANTON, CHRISTOPHER
668614 HARPER, BRENADETTE
683521 JOHNSON, NICOLE
7000217695 HOEFER, ELISABETH
1026239 MENG, PHIL
566157 BARAJAS, ISAIAS & IRMA
36512 DARBY, SEAN
8402700990 ANDERSSON, RONNY
39977 LOVE, JAMES A
8906156675 HELMES, MICHAEL
8404509288 WESTERLUND, JOHANNA
680016 CLEMENTS, FERNE
7000202077 TEAM TELCO

1025827 HERNANDEZ, GAMALIEL
7250204046 CHRISTOFILAKIS, BILL

1026199 HEFTEL, TERRY

35103 SUTTON, KENNETH M
36071 WHERRY, GRAYLIND R
8402709950 SANDSTROM, JONAS

34566 TRUSTEES M.E. CHURCH CITY AND PRECIUS

8403606590 ENGSTEDT, MARIE
1916769 PROTSENKO, ANDREY L
48124 PAYNE, KEITHE
8702131366 NIELSEN, JEANETTE
1017687 MAGLOIRE, WENDY
7250003059 SERAFINI, KIM
43394 BRILLMAN, ROBERT
560870 NORRIS, CAROLYN B
§62477 PARKHILL, KIMBERLY
560693 BOUDTA, STEVE
§59627 LEBER, HAROLD E
46648 GREGORY, SHERYL |
44228 BETHEL UNITED METHODIST CHURCH
8403432730 NYBERG, ANDERS
8002711570 KOEKOEK, ZWANETTE
48679 GORGES, RODNEY E
7250003005 YAMAN, ATILLA
8906460136 VOELKNER, JOERG
1017314 PETERS, ETHAN
44758 WALKER, ROBERT C
559038 HAMS, JOHN W
679942 RAKLEY, JOAN E
8700836110 TERO J MAJURI
8906270230 BAUR CLAUS
678182 GERTH, ERIK N
43421 LEVY, FRANK M
563115 KING, CLIFTON C
8404536275 SOEDERBERG, SVEN ANDERS
45006 NEAL, MAXCIE O
7670318405 FERREOL, MARC ANDRE
8906154903 MIELS, BURKHARD
680079 COOPER-BEY, BARBARA A
682861 PETERSON, KARL G
683763 CANNON, DEREK
7300014841 DE BEAUVESER, RAYMOND JR
7250002818 LEE, HAZEL
7250002683 KIVIMAKI, HENRY
8404467725 LINDGREN INGELA, LINDGREN CONNY
8700180510 SANDVIK, GRETE WANG.
38923 MASON, MALCANEE U
8906156867 WUERTEMBERGER, KLAUS
8906485356 LEUTENBERG, ANDREAS
44627 TOMCZAK, SANDRA L
8700788580 SVENDSEN, TOMMY
561166 PHAN, LINH M
662454 ERVIN, CHERYLN
8404523561 KARLSSON, MARCUS
48077 HARDI, ELIZABETH
8906291424 SCHAEFER, MICHAEL
8306396284 ALFRED & DOMINIK BAUTZ GBR
8906460015 FELDENS, THOMAS
1018462 WRIGHT, LYNETTE
475820 LEVERAGE POINT L. L. C.
564865 SMITH, JINX P
8003749215 KARAIVANOF SEHHEER B.V
666237 FORBES Ill, H MILLER
64626 RAINES JR, ARTHUR L

CneDOD DDO OOOO OOOO ODOC OOO OO OC OOO OOOO OCOD OOO OOOO eC OOOO OD OBO OOO OOOO oOBCOoOeO Ooo OoOoOOooOoOeO oD Ooo DOO COO B OOO Oooo

eocKDC OOOO OOOO OOOO OOO OOOO DOO OO OOOO OOO OOO OOOO OOO De D OOOO OOOO oO BSB OOOO OOO oOo DBO OO Ooo OOOO DO OOOO OOoOOC COC OD |

SoCo cC Oo OO COCO COO OOO OOOO DOOD DOO OO OCOD OOOO BOC OOOO OOOO OOO OO OOC OOOO OOD OOOO DD OOO OOOO OOOO ooo ooo oOoOOO Oooo

CoD eC DD OC ODO OOOO C Oe OOOO OCOCOO OOOO ODDO OO OOO OOOO OOO ODO OOOO OOOO OOO DOO OOBO OOO OO BD ODO OB eo Oo OOOO oOKOoO Oooo oo

COCO KC ODO OOOO DOOD OOOO OOO OOOO OODO OOOO OOOO OOD OO OOOO OOOO OOOO OOOO OOOO OOOO OO Oo OBO OO eee Oooo oOoOC oOo oOoOoOeooOO

loceooDo ODO OOOO OOO Oe OC OOOO OOOO OOOO ODO OOOO OOOO DOO OOOO OOOO OOoDO OOO OO OOOO oO OOOO OOOO OOo oOo OO OOD OOoO OOD OO |

CoD eO OOD OOOO OOOO ODOC OOD OOO ODOC OC OO ODO OOO DOO OOOO OOO oC OOC OO OOOO OOOOOMOC0ODFOOOOoOoOFGOOeCODOOOOoCOeooOoOeGeBo Oooo So |}

2

CoC OC ODO OOOO OOOO OOD OOOO OOOO DOOD O OOOO OC OOOO COOBD OOO OOO OOOO OOOO OOMeGOCOOCOOOOOOoO OO Oe BoB Oo Doo Ooo OOo oOo

COED eC OOO COO DOOD DOOD OOOO DO OO ODO OOOO OOOO OOOO OC OOO OOO OOO OOO B OOOO OB OOO ODO OOOO D Ooo Oe oS oe Ooo Oooo OBO ooo

1

3

CoC DeC OCC OCOD OOOO OO OC OOOO OOC OOOO OOOO OOOO OOOO OOOO OOOO OOOO OSGOOD OOoOOOoOoO OS OSGOOD OOOO oO DO oOBD Oo AB OOo oOo Oooo ODO

eeCDD DOD OCC eC OC OO OOO OO eC OOD OBC OoOOD oO eODOOeOOOOoo

a
a
N

loooeCDODOCOCOO ODOC OOO OOOO OOO OOOO ODO e oOo oOo O OOO oOOCOOoOoOaAoOOoO

SeeoDDeP oP CO BoD oO OOOO OOO ODO OOD OOOO OOo ODO OOoOOeOoD

a
a
N

ceo DD ODOC oOo OD OOO COCO eo OOO DODO OoOoOoO OOo OOOO Oooo OoB OBO oCeooSoO

18-cv-09936-LGS-SLC Document 696-77 Filed 03/01/24 Page 8 of 24

Case 1

7

3

a

7

ISISIS|

IS

ISISISISI

A B I I I I ] H l I I K I L I M [ I
7800054455 MIRIELLO, EMILIO IT 0 0 0 0 0 Oo 0 0 0 0o 0 0}
710859 ERRINGTON, SUZANNE C US oO 0 0 0 0 0 0 0 o 0 0 0}
7250001006 KELLY, MARGARET AU 0 0 0 0 0 0 0 0 o 0 0 0
11400 BROWN, BRENDA T US 0 0 0 0 0 0 0 0 0 0 0 0}
8404720751 GARDESTEDT, ANNA SE 0 0 0 0 0 0 0 0 0 0 0 0
8404121010 EXKSTROEM, AGNE SE 0 0 0 0 0 0 0 0 0 0 0 0}
7600843952 FOUR, ISABELLE FR 0 0 oO 0 2.43 654.94 0 657.08 0 0 0 0)
714659 JUN, ERIC US 0 0 0 0 0 0 0 0 0 0 0 0)
8103398821 JYSK MILJOE CENTER DK 0 0 0 0 0 0 0 0 0 0 0 0}
17265 ODOM, SAMUEL B US 0 0 0 0 0 0 0 0 0 0 0 0
17747 REEVES, LINDA H US 0 0 0 oO 0 0 0 0 0 0 0 0}
7670547334 FEUILLET, KEVIN FR 0 0 0 0 0 0 oO oO oO 0 0 0}
11891 DELMARVA PLUS INC US QO 0 0 0 0 0 0 0 0 0 0 0}
16306 PAYTON, JEFFERY E US 0 0 oO 0 0 0 0 oO 0 0 0 0)
14991 WOLTERSDORF, ROBERT J US 0 0 0 0 0 0 0 0 0 0 0 0}
711193 UTIL-A-SAVE US O 0 0 0 0 0 0 0 0 0 0 0}
8906425936 KUNZ, TANJA DE 0 0 0 0 0 0 0 0 0 0 0 0
11762 TSUNAMI INVESTMENTS INC. US 0 0 0 0 0 0 0 0 0 0 0 0}
13805 THE MCNAIRY GROUP, LLC US 0 0 0 0 156.4 0 0 156.4 500 500 15.56 1015.56
8702043137 HEGGDAL, STAALE NO 0 0 0 0 0 0 0 0 0 0 0 0}
712601 WAKEFIELD, DAVID US 0 0 oO o 0 0 0 0 0 0 0 0
1041851 DEMERS, PHILIPPE CA 0 0 0 0 oO 0 0 0 0 0 0 0
14335 KRACH, KENT US 0 0 oO 0 0 0 0 0 oO 0 0 0}
390977 SAQUING, RICARDO G US 0 0 0 0 0 0 0 0 0 0 0 0)
8404329780 LINDAHL, STEFAN SE 0 0 0 0 0 0 0 0 0 0 0 0
8906174047 SCHOLZ, CHRISTIAN DE 0 0 0 0 0 0 0 0 0 0 0 0}
12742 MURPHY US 0 0 0 0 0 0 0 0 0 0 0 0
51762 GOURDINE, DARRIUS J US 0 0 0 0 0 0 0 0 0 0 0 0}
8906444866 KIRST, ARNOLD DE 0 0 0 0 0 0 0 0 0 0 0 0
8103329261 HOLM, POUL PBH DK 0 0 0 0 0 0 0 0 0 0 0 0}
8906227915 WITTMANN, VOLKER DE 0 0 0 0 0 0 0 0 0 0 0 0)
711313 CURRY, MALCOLM A US 0 0 0 0 0 0 0 0 0 0 0 0)
12090 COLLINS, DUANE M US o 0 0 0 0 0 0 0 0 0 0 0}
8402655360 BRANNSTROEM, SVANTE SE 0 0 0 0 0 0 0 0 0 0 0 0)
580923 BLACK, BRITTON E US 0 0 Oo 0 0 0 0 0 0 0 0 0)
14688 TE CORPORATION US 0 0 0 0 0 0 0 0 0 0 0 0)
15170 CLARK, ROBERT A. US 0 0 0 0 0 0 0 0 0 0 0 0}
8003638787 VISSER, THEO NL 0 0 0 0 0 oO 0 0 0 0 0 0
8103132530 RAHBEK, BENT DK 0 0 0 0 0 0 0 0 0 0 0 0
51291 WHALEY, WALTER L US 0 0 0 0 0 0 0 0 0 0 0 0}
17606 BAILEY, WILLARD. US 0 0 0 0 0 0 0 0 0 0 0 0
§3233 HIGH ENERGY MARKETING GROUP, INC. US 0 0 0 0 0 0 0 0 0 0 0 0)
8403826560 JOHANSSON, MICHAEL SE 0 0 0 0 0 0 0 0 0 0 0 0)
8404589622 DUFF, CHRISTOFFER SE 0 0 0 0 0 0 0 0 0 0 0 0
57138 CLARKE, RHOMA US 0 oO 0 0 0 0 0 0 0 0 0 0)
669933 SMITH, NATHANIEL US 0 oO Oo 0 0 0 0 0 0 0 0 0)
52301 SHIELDS JR, ROBERT L US 0 0 0 0 0 0 0 0 0 0 0 0)
8403358040 NORDSTROEM, MONA. SE 0 0 0 0 0 0 0 oO 0 0 0 0
$5701 O'NEIL, HUGH B US 0 0 0 0 0 0 0 0 0 0 0 0}
8906216997 HOLLENBACH, REGINA DE 0 0 0 0 oO 0 0 0 0 0 0 0
8103327082 ALBERS, KRISTINE DK 0 0 0 0 0 0 Oo 0 0 0 0 0
1062241 GIRMONDE III, SAM J US 0 0 0 0 0 0 0 0 0 0 0 0
7800329108 DIANA, NICOLETTA ANNA IT 0 0 0 0 0 42.85 0 42.85 0 0 0 0
7800042251 DI VINCENZO, NATAN IT 0 0 0 0 0 0 0 0 0 0 o 0
8906180205 BRUEHL, ANDREAS DE 0 0 0 0 0 0 QO 0 o 0 0 0
8003576081 RIJKSEN, ARIE NL 0 0 0 0 0 0 0 0 0 0 0 0}
7800004007 GUBINELLI, AUGUSTO. IT 0 0 0 0 0 0 0 0 0 0 0 0)
16525 DLS ENTERPRISES US 0 0 0 0 0 0 0 0 0 0 0 0
7370149092 RAMOS RODRIGUEZ, JOSE MIGUEL ES 0 0 0 0 0 0 0 0 0 0 0 0
11095 SNIDER, KELLY K US 0 0 0 0 0 0 0 Oo 0 0 0 0}
12988 WGBR COMMUNICATIONS US 0 0 0 0 0 0 0 0 0 0 0 0}
13495 HARDRICT, SAMUEL T US 0 0 0 Q 0 0 0 0 0 0 0 0}
390142 KING, SUSAN US 0 0 0 0 Qo 0 0 0 0 0 0 0
07898 SOULE, ANDREW US 0 0 0 0 oO 0 0 0 oO 0 0 0
16637 BROOKS, GARLAND US 0 0 0 0 0 0 0 0 Oo 0 0 0
708031 ARTIGA, ROSA L US oO 0 QO 0 0 0 0 0 0 0 0 0}
8404518775 OLSSON, ANETTE SE 0 0 0 0 0 0 0 0 0 0 0 0}
8882753216 HARKNESS, CAROLE R GB 0 0 0 0 0 0 0 0 0 0 QO 0)
1040816 GUILBERT, BRYAN CA 0 0 0 0 0 0 0 0 0 0 0 0}
8003410170 MASTENBROEK,JAN, MASTENBROEK,JANT NL 0 0 0 0 0 0 0 0 0 0 0 0}
17572 THIRD WAVE ENTERPRISES, LTD. US 0 0 0 0 0 0 0 0 0 0 0 0)
8906255580 GRAF, JUERGEN DE 0 0 0 O 0 0 0 0 oO 0 0 0
12549 FAIR, ALFONZO us 0 0 0 0 0 0 0 0 0 0 0 0}
12553 FLYNN, HARRY L. US 0 0 0 0 0 0 0 0 0 0 0 0}
12554 TIME N TIME MARKETING INC. US 0 0 0 0 0 0 0 0 0 0 0 0}
14593 VREDEVELT, JOHN S us 0 0 0 0 0 0 0 0 0 0 0 0}
15603 DOWNS, LINN H US 0 0 0 0 0 0 0 0 0 0 O 0
16101 GOFFUS, KAY US 0 0 0 0 0 0 Oo 0 0 0 o 0
2015315 HERNANDEZ, JANETTE E US 0 oO 0 0 0 100 0 100 0 0 0 0
8402561940 JANSSON, ANNE SE 0 0 0 0 0 0 0 0 0 0 0 0
37199 MBJB INC. US 0 0 0 0 0 0 0 0 0 0 0 0
683533 WOLOSCHUK, SHARILYN A us 0 0 o 0 0 0 Oo 0 0 0 0 0}
7870103014 BAGNATO, VINCENZO IT oO 0 0 0 0 0 0 0 0 42.85 0 42.85
8906293222 PETERS, MANFRED DE oO 0 0 0 0 0 0 0 0 0 0 0
38086 HIGHTOWER, JOHN E US 0 0 0 0 0 0o 0 0 O 0 0 Q|
39070 FORD, PHILOMENA US 0 0 0 0 0 0 0 0 0 0 0 0}
8404478178 BLANC NOIR AB SE 0 0 0 0 0 0 0 0 0 0 0 0
1023353 WILLIAMSON, JOSEPH US 0 O 0 0 0 0 0 0 0 O 0 0
34048 OPEN DOOR CHRISTIAN SCHOOLS US 0 0 0 0 0 0 0 0 0 0 0 0)
7250003653 EPPING CHARGRILLED CHICKEN AU 0 0 0 0 0 0 0 0 0 0 0 0
8700470310 NUTH, DAGFINN NO 0 0 0 0 0 0 0 0 0 o 0 0
38596 SPARROW, TYRONE S US 0 0 0 Qo Q Q 0 0 0 0 0 Q
39526 RAWLINS, LARRY D US 0 0 0 oO 0 0 0 0 0 0 0 0)
8402458830 ANDREE, HARRIET SE 0 0 0 0 oO oO 0 0 0 0 0 0

18-cv-09936-LGS-SLC Document 696-77 Filed 03/01/24 Page 9 of 24

Case 1

Tot

8906500329 MEIER, RENATE
1673433 LOONEY, ERIN
7250006647 ZIEBA, STEVEN J
8003567011 N.M.C. NIEDORPER MOTORCLUB
8702176001 FAGERLI, MONICA
1062256 KISER, KRISTINA M
8906459509 STEINHAUSER, NICOLAS
52692 HILL, STACEY D
8402267040 HOLMGREN, SVEN
536874 HARRISON, LYNNETTE G & QUINN T
8402623100 BERGGREN, STEN
8702094017 NILSEN, PER OTTO
8906437120 VOITEL, RONALD
7250006607 MALULA, CHIKURU
8402216400 JONASSON, LENA
7800021326 THOMA, ILSE MARIA
590245 BULLOCK, JESSE & KATRINA
7800018750 RUSSO, MARIA TERESA
8906191436 RICHTER, KATRIN
8906261582 KIRSCH, THOMAS
8404520257 NRS SERVICE HB
57565 WILKINS, LOUELLA
7400511233 NIKEZIC, DRAGANA
1914136 TABLER, KAREN A
8906396564 HAUENSTEIN, ROBERT
7950221151 WOOLMORE, LIAM
8404604663 LARSON, DANIEL
664323 MACIAS, RICHARD
56621 ICUSS, FRED H
8003572190 LANGKRUIS, YLVA
$6614 BURROUGHS, STEPHANIE D
8906178834 STEMMER, JOCHEN
1054455 SAGEN, JANE
590141 GRAHAM, GARNET
663269 JOHNSON, DAWN
7600526406 HARRISON, KEITH
1052999 BRENT, TRINA
8003582232 AMASSLAM, MOHAMED
593848 MCGEE, DENAM
694133 HENDRIX, MARYANN
§89465 BECKER, JONATHAN M
7370162283 CARRETERO LOPEZ, JOSEFA
477356 TAMBAOAN, FLOYD
676145 TONN, JEFF
55019 OUR LADY OF MT. CARMEL CHURCH
8003556721 BREE DE, GERDA G.
8906180302 OLDENSCHLAEGER, BERND
8906190490 REHME, HEINZ
8103352611 MATH, OLE / JETTE
671886 SISSON, BEVERLY A
673661 LOFTHOUSE, CASEY
$4130 LAMKIN, STACIL
8403571430 EDLUND, MARTIN
8702006998 NILSEN, RIKARD
8404662008 ERIKSSON GLAD INFORMATION AB
§99058 KELLEY, JOHN
8906439786 WALD, MARLIES
7670551805 ROCHEMAN, FRANCOISE M
8403656770 JAAGAS, TOMMY

7470079204 SIMOES MARQUES, J.CARLOS
49819 FOREHAND, KIMBERLY K
1061614 MIRAMONTES, IVAN O
7800230433 DELLA CORTE, NICOLA
54189 WEALTH PROFORMANCE
480108 MOORE, LEWIS M
55640 SCHNEIDER, JEFF A
598100 HAMPTON, RICK
598089 HELM, GUY
8906432667 NAUMANN, KATRIN
7800218601 CAMPANINO, GIUSEPPE
12321 PERRY, BERNADETTE
12332 GROAT, GEROGE C
16366 PTM INTL CO TRUST
8906145565 LENTER, MARTINA
7200018791 WILSON, THOMAS
7400503639 BRAGGER, IVAN
15918 SPENCER, GREGORY SHAWN
596701 MOON, WILLIAM
8003555927 DIEPEVEEN-VAN LAAR, WILMA M.W
11881 ROBINSON, JACQUELYN P
8906232968 RICHTER, JOHANNES.
11814 JAMES, SUSAN
6906418249 SCHONEBERG, BIRGIT
7770023004 GRAMONTE, ARNANE Q.
16447 GAMBRELL, CARLTON T
8882112640 KAHN, ROBERT A
12060 CROSSON, HUGH G
1039094 CHIPMAN, JOHN
14465 JONES, MICHAEL
16973 PARKINS, LENNOX
17463 WRIGHT JR, NORRIS L
714545 BEEVOR, STEPHEN
61845 ROMULUS, YVES G

SE

56091 PINCHBACK-HINES, CYNTHIA AND GARY F US

eococp COCO OOO ODO OOOO OOOO OOOO OOOOC OOO eCeO OO eC oO Oo OOOO Ooo OOO OOOO OOOO OOO BCO OBO OO OOOO ODOC OOOO oO BBO OO OOO OOOO} |

econ e Deo OOO OOO OOO OOD OOOO OOOO O COO DOO OOO OOO OOO ODO OOOO OOD OOOO OOO OBO BOAOeOoOOOoOoO OFC OOO oOo OKO OOOO OCe OOOO ooo

COCDD ODOC DOOD OOOO OOO ODOC OCOD OOOO OOOO OD ODO OOO ODO OeO OB OC OOO OOOO OOOO OC OCOBC OOOO oO OOOO OB oD OOD OOOO eo OD OOOO OO} |

SecCC OOO OC OO COCO oO OOOO OOOO ODDO OO OOOO OOO OOOO ODO O OOOO OOo OOOO OOO ODO OO OOOO OO OOOO O OOO BBO OeBOD DO oCOODOoOOOoO oO oOoOD

CODD DO COO OOD COO OOO OO ODO OOOO O OOOO COO OO ODOC OOOO OO OOO OOOO OOO OOOO OO OOOO oOoOOeOBCOAOBe OB OOOO Oooo e Oe OOOO oOoO

SoTODCDCOODCODO COCO ODO OOOO OOOO OC OeO OOOO OOOO oOoOoOOODOoOD OOOO OoOoOoOoOCOOoDo

a
2
N
a

eoeceoepeKo ODO OOO D OOOO OeCOOeOOSGOOooOeOoD

ecxoe Oooo OOD OOOO OOOOoOoODOOO Oooo OoOoOOSSSeooo

62.6

CoOEPDFDODBCOOC OOO OOO OO OOOO OOOO OOOO OB DOO ONGDoOoODODDOeOoOOGCoOoOGOOoD

SEO DODDDOD OOOO ODO OC OOO OOOO OOOO OOOO OOoO OOOO BDADoOOoOoOOOoOoOoOoOooOoOoCSD

a a
a N.
N a
BOON

C20 COOODC ODOC OOo OOOO DOODOoOOOCeOSoBOoCoOoOSo

eeooeeoeC oO OOO OCOD OC OOOO ODO OOOO ODO DOO OOOOOOOO ODO OOOO O oO OOOO OoOOO OOO OOOO OOOO OD AO OBO OOOO oO Oooo OoOoOoOCoCoCoOoCSo

CoD TC COCO OOO OOOO OOOO OOO ODO OOOO OOOO OOOO OOOO CO OOD OOO OOo D OOO OOOO OOOO DOO OOOO oOoOBGOOOOOODOeP SOOO FCOoOoB Oooo O! |

CODD OOOO ODO OOOO OOOO OOO OOO OOOO OOOO OOOO OOO eC OOOO DODO O oO OOD OCOD OOOO ODO OOO OOOO OO OBO OOD O OOOO OKCO Ooo ooo oOO

coD oo D ODO OOOO COCO OOOO OOOO OOOO DOO OOOO OOo OOOO OOOO DODO OOO ooo OoD OOOO B oOo OODOoO oD Oooo Oooo SDD OOOSOooOOOoOOO

18-cv-09936-LGS-SLC Document 696-77 Filed 03/01/24 Page 10 of 24

Case 1

A__] B I I I I I | | J I K ] ] | I
8702104140 PROGRAM KJELLEREN NO 0 0 0 0 0 0 0 0 0 0 0 0
7400115733 ALTORFER, REMO CH 0 0 0 0 0 0 0 0 0 0 0 0
3000052868 MARK CYRZAN CA 0 0 QO 0 0 0 0 0 0 Qo 0 0
8402406050 GRAVERSEN, DENNIS SE 0 0 0 0 0 0 0 0 0 0 Q 0
1394225 DE LA CHAUSSEE, ANDRE US 0 0 0 0 0 0 0 0 0 0 0 0
3000055690 TERENCE BINGHAM CA QO 0 0 0 0 0 0 0 0 0 0 oO
8701032780 HOLMVIK, SVEIN NO 0 0 0 0 o 0 oO 0 0 0 0 0
1134722 GALAN , MARLENA US 0 0 0 0 0 0 0 0 0 0 0 0
1134729 GANGEMI , JULIE Us 0 0 0 0 0 0 0 0 0 0 0 0
8403354540 DEGERLUND, HANS SE 0 0 0 0 0 0 0 0 0 0 0 0
8404422306 DRUGGE, ANDERS SE 0 0 0 0 0 0 oO 0 0 0 0 0
7800044792 ZACCARO, GIANLUCA. IT oO oO oO oO 0 0 oO 0 oO 0 0 0)
8906277185 FUCHS, RENE DE oO 0 o 0 0 oO oO 0 0 0 0 0
1863465 MUNOZ, ROSAL US 0 0 0 Oo 0 0 0 0 0 0 0 0
1862790 LEWIS, AMOS US 0 0 0 0 0 0 0 0 0 0 0 0
8403306020 OK, MADLIN SE 0 0 0 0 0 0 0 0 0 0 0 a
67880 TERNER, JANET R US 0 0 0 0 0 0 0 0 0 oO 0 0)
461255 THOMAS, WAELAND D US 0 0 0 0 0 0 0 0 0 0 0 0)
8404494811 MALMGREN, STEFAN SE 0 0 0 0 0 0 0 0 0 0 0 0
1860972 HUBBARD, DAVID P US 0 0 0 0 0 0 14.84 14.84 0 0 0 0
§42763 KIM, JOHN US 0 0 0 0 0 0 0 0 0 0 0 0
657791 HALL, RHONDA L CA 0 0 0 0 0 0 0 0 0 0 0 Q
8306351733 DANIEL, ANDREAS DE 0 0 0 0 0 0 0 0 0 0 0 0
1000406 CROTHER, TYSON us 0 Qo QO 0 0 0 0 oO 0 0 0 0
1860945 WESPISER, THOMAS P US 0 0 0 0 0 0 0 0 0 0 0 0
7600556201 FAUROUX, FABRICE FR 0 0 0 0 0 0 0 0 0 0 0 0
519881 LOPEZ, MARIO M US 0 0 0 0 0 0 0 0 0 0 0 0
544512 LEBER, JEANNE M US 0 0 0 0 0 0 0 0 0 0 0 0
7670671166 NATIVI, JULIE FR 0 0 0 0 0 42.85 0 42.85 0 0 Q 0
7800203041 GERMANI, FLAVIO IT 0 0 0 0 0 0 0 0 0 0 Q 0
89215 WOOD, WILLIAM (PATRICK) US 0 0 0 0 0 0 0 0 0 0 0 0
67903 DURHAM, RICHARD C (RICK) US 0 0 0 0 0 0 0 0 Qo 0 0 0
8882634220 WIDDOWSON HUTCHINSON, ANDREW ANI GB 0 0 Qo 0 0 0 0 0 0 0 0 0
8702196430 DAHLSTROEM, HILLEVI STAVNES NO 0 0 0 0 0 0 oO 0 0 0 0 0
70153 ASSOCIATION INSURANCE BROKERAGE, | US 0 0 0 0 0 0 0 0 0 0 0 0
8103390022 FAERK, JOERGEN DK 0 0 0 0 0 0 0 0 0 0 0 0
661628 MONDELLO, MARYANN US 0 0 0 0 0 0 oO 0 0 0 0 0
1002063 JOHNSTON, BEATRICE US 0 0 0 Oo 0 0 0 0 0 0 0 0)
7600561039 LAGARDE, ULRICK FR 0 0 0 0 0 0 0 0 0 0 0 0
1138262 BAKER, CAROLYN B US 0 0 0 0 0 0 0 0 0 0 0 0
1733004 PEIRCE, CHRISTOPHER M US 0 o 0 Q 0 0 0 0 0 0 0 0
8403333020 FRIDLUND, HELENA SE 0 0 0 9 0 0 0 0 0 0 0 0
1001166 NELSON, LORI US 0 0 0 Q 0 0 0 0 0 o 0 0
8003765160 ALMOND EUROPE LTD. NL 0 0 0 9 0 0 0 0 0 0 0 0
3000044516 LESLEY/GERALD MACHAN/TEAROE CA 0 0 0 ° 0 0 0 0 Qo 0 0 0
471453 COTE, CLAUDE CA 0 0 0 9 0 Qo 0 0 0 0 0 Q
3000044505 MARK PHILLIPS CA 0 0 0 9 0 0 0 0 0 0 0 0
8404496172 FUNK, JON SE 0 0 0 0 0 0 0 0 0 0 0 0
70700 KUSTES, DONALD C US 0 0 0 0 0 0 0 0 0 0 0 0
1861089 NELSON, JULIE T US 0 Qo 0 0 QO 0 0 0 0 0 0 0
72613 WILLIAMS, LAMELLE & WANDA US 0 0 0 0 0 0 0 oO 0 0 0 0)
1138019 CONCEPCION , ESTER E US 0 0 0 0 0 0 0 0 0 Q 0 0
467605 DAVARI, MATIN US 0 0 0 0 0 0 0 0 0 0 0 Q
520705 FABRIS, NANCY us 0 0 0 0 0 0 0 0 0 0 0 oO
68328 GAIL CORP IN CARE OF TED JOHANNSSED US 0 0 0 0 0 0 0 0 0 0 0 0
7800033216 DI NARDO, EMILIANO MARIO IT 0 0 0 0 0 0 0 0 Qo 0 0 0
8103431821 PETERSEN, RIE KJAER DK 0 0 0 0 0 0 0 0 0 0 0 0
8403408000 LOEFQVIST, PETTER SE 0 0 0 0 0 0 0 0 0 0 0 0
8906732409 HEYMER, MANUELA DE 0 0 0 0 0 Qo 0 0 0 0 QO 0
§2026 LEWIS, MAVIS P US 0 0 0 0 0 0 0 0 0 0 0 0
673397 HUBBERT, ANDREW M US 0 0 0 0 Q 0 0 0 0 0 0 0
1061188 HUNTER , DARREN CA 0 0 0 0 0 0 0 0 0 0 Qo 0
8906457139 ULRICH, UDO DE Q 0 0 0 0 0 0 0 0 0 0 0
52483 SPEAR, DONALD G US 0 0 0 0 0 0 0 0 0 0 Qo 0
8402483430 BERGLUND, MATHIAS SE 0 0 0 0 0 0 0 0 0 0 0 0
475846 COVINGTON, PATRICIAA us 0 0 0 0 0 0 0 0 0 0 0 0
54898 WILKINS, GERALD L US 0 0 0 0 0 0 0 0 0 0 0 0}
8003573581 RUINEMANS, RICHARD NL 0 0 0 0 0 0 0 0 0 0 0 0
592365 LOWE, BETHANY G US 0 0 0 0 0 0 0 0 0 0 0 0
672593 STINSON, CHRISTOPHER H US 0 0 0 0 0 0 0 0 0 QO 0 0
7800217332 FIORI, GIUSEPPINA IT 0 0 0 0 0 0 0 0 0 0 0 0
1063527 BROWN, MATTHEW J US 0 0 0 0 Q 0 0 0 0 0 Qo 0
673583 SMITH, MUNCY J US 0 0 0 0 0 0 0 Qo 0 0 0 0
8905116890 HELMAN, HARTMUT DE 0 0 0 0 0 0 Q 0 0 0 0 Q
8906148439 RBEST GBR DE oO 0 oO Oo 0 0 0 0 O 0 0 0
589237 HENDON, TONYAR US 0 0 0 0 0 0 0 0 0 0 0 0
8403320800 JOHANSSON, CONNY SE 0 0 0 0 0 0 0 0 0 0 0 0
595582 HAGAR, JANICE M US 0 0 0 0 0 0 0 0 0 0 0 0)
7000216703 KOMITOV, NICOLE AT 0 0 0 0 0 0 0 0 0 0 0 0
1060348 ERNEST, FLORA B US 0 0 0 0 0 0 0 0 0 0 0 0
7000287980 KOGLER, JOHANNA AT 0 0 0 0 0 0 0 0 0 QO Qo 0
50147 ORCHARD-HAYS, PHILIP US 0 0 0 0 0 0 0 0 0 0 oO 0
8904514010 GRALAPP, ERIKA DE 0 0 0 0 0 0 QO 0 0 0 0 0
1062881 CHENIER, BRENDA E CA 0 0 0 0 0 0 0 0 0 0 0 0
8906430047 VAN MARK, STEFANIE DE 0 0 0 0 0 0 0 0 0 0 Q 0
595243 KING, JUDY F US 0 0 0 0 0 0 0 0 0 0 0 0
47793 JOHNSON, CARLOS P US 0 0 0 0 0 0 0 0 0 0 0 0
53804 BOHM, RODICA . US 0 0 0 0 0 0 0 0 0 0 0 0
55735 BLACKMAN, ROBERT S 'BOB' US 0 0 0 0 0 0 0 0 0 0 0 9
56733 STONE, JEFFREY US 0 0 0 0 0 0 0 0 0 0 15.05 15.05)
51386 KENNEDY, JOAN T us 0 0 0 0 0 0 0 0 0 0 0 0)
55277 PROSPERITY 250 US 0 0 0 0 0 0 0 0 0 0 15.91 15.91
55755 MCLEOD, JOAN G US 0 0 0 0 0 0 0 0 0 0 0 0
56218 MASTER KEY ASSOCIATES LLC US 0 o 0 0 0 0 0 0 0 0 0 0}

